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                               UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF NEVADA

 9 UNITED STATES OF AMERICA,                        2:20-CR-111-APG-DJA

10                Plaintiff,
                                                    Preliminary Order of Forfeiture
11         v.

12 DONTAVIA JONES,

13                Defendant.

14         This Court finds that defendant Dontavia Jones pled guilty to Counts One and Two

15 of a Two-Count Superseding Criminal Information charging him with felon in possession of

16 a firearm in violation of 18 U.S.C. § 922(g)(1). Superseding Criminal Information, ECF No.

17 46; Plea Agreement, ECF No. 47; Arraignment & Plea, ECF No. 49.

18         This Court finds Dontavia Jones agreed to the forfeiture of the property set forth in

19 the Plea Agreement and the Forfeiture Allegation of the Superseding Criminal Information

20 Superseding Criminal Information, ECF No. 46; Plea Agreement, ECF No. 47;

21 Arraignment & Plea, ECF No. 49.

22         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2), the United

23 States of America has shown the requisite nexus between property set forth in the Plea

24 Agreement and the Forfeiture Allegation of the Superseding Criminal Information and the

25 offenses to which Dontavia Jones pled guilty.

26         The following property is any firearm or ammunition involved in or used in any

27 knowing violation of 18 U.S.C. § 922(g)(1) and is subject to forfeiture pursuant to 18 U.S.C.

28 § 924(d)(1) with 28 U.S.C. § 2461(c):
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 1              1. a Glock 43X handgun bearing serial number BMGU327;

 2              2. a Smith & Wesson model M & P 9C, 9mm, bearing serial number MPX2702;

 3                    and

 4              3. any and all ammunition

 5   (all of which constitutes property).

 6          This Court finds that on the government’s motion, the Court may at any time enter

 7   an order of forfeiture or amend an existing order of forfeiture to include subsequently

 8   located property or substitute property pursuant to Fed. R. Crim. P. 32.2(e) and

 9   32.2(b)(2)(C).

10          This Court finds the United States of America is now entitled to, and should, reduce

11   the aforementioned property to the possession of the United States of America.

12          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

13   DECREED that the United States of America should seize the aforementioned property.

14          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory

15   rights, ownership rights, and all rights, titles, and interests of Dontavia Jones in the

16   aforementioned property are forfeited and are vested in the United States of America and

17   shall be safely held by the United States of America until further order of the Court.

18          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that if the value of

19   the property is less than $1,000, the government may serve every person reasonably

20   identified as a potential claimant in lieu of publication pursuant to Fed. R. Crim. P.

21   32.2(b)(6)(C) with Fed. R. Civ. P. Supp. Rule G(4)(a)(i)(A).

22          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual

23   or entity who claims an interest in the aforementioned property must file a petition for a

24   hearing to adjudicate the validity of the petitioner’s alleged interest in the property, which

25   petition shall be signed by the petitioner under penalty of perjury pursuant to 21 U.S.C. §

26   853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the petitioner’s

27   right, title, or interest in the forfeited property and any additional facts supporting the

28   petitioner’s petition and the relief sought.
                                                     2
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,

 2   must be filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas,

 3   Nevada 89101, no later than thirty (30) days after the notice is sent or, if direct notice was

 4   not sent, no later than sixty (60) days after the first day of the publication on the official

 5   internet government forfeiture site, www.forfeiture.gov.

 6          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the

 7   petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

 8   Attorney’s Office at the following address at the time of filing:

 9                  Daniel D. Hollingsworth
                    Assistant United States Attorney
10                  James A. Blum
                    Assistant United States Attorney
11                  501 Las Vegas Boulevard South, Suite 1100
                    Las Vegas, Nevada 89101.
12

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice

14   described herein need not be published in the event a Declaration of Forfeiture is issued by

15   the appropriate agency following publication of notice of seizure and intent to

16   administratively forfeit the above-described property.

17          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

18   copies of this Order to all counsel of record.

19                  October 5, 2021
            DATED _____________________, 2021.

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22                                                 ANDREW P. GORDON
                                                   UNITED STATES DISTRICT JUDGE
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